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               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

DERRICK BAILEY, individually and on )           Case No. ______________
                                     )
behalf of others similarly situated, )
                                     )
             Plaintiff,              )          COLLECTIVE ACTION
                                     )
                                     )          COMPLAINT
      v.                             )
                                     )
                                     )
VULCAN MATERIALS COMPANY, )
and SOUTHEAST DIVISION               )
LOGISTICS, LLC,                      )
                                     )
                                     )
             Defendants.             )
                                     )

      Plaintiff Derrick Bailey (“Plaintiff”), by and through his attorneys at the law

firms of Austin & Sparks, P.C., Leonard Carder, LLP, and Nichols Kaster, LLP,

alleges as follows on behalf of himself and all others similarly situated:

                             I.     INTRODUCTION

      1.     This is an action for relief from Defendants Vulcan Materials Company

(“Vulcan”) and Southeast Division Logistics, LLC’s (“Southeast”) (“Defendants”)

unlawful misclassification of certain driver employees as “independent contractors.”

      2.     Defendants operate quarries and produce, sell, and distribute

construction aggregates and aggregate-based construction materials throughout the
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United States. The aggregate products that Defendants sell and distribute include

crushed stone, sand, and gravel, and construction materials including asphalt and

ready-mixed concrete.

      3.     Defendants have engaged Plaintiff and other similarly situated drivers

(the “FLSA Collective”) to transport their products from Defendants’ quarries to

their customer sites. All of this transportation occurs intrastate, and Plaintiff and the

FLSA Collective do not cross state lines to deliver to Defendants’ customers, most

of which are large construction companies that have the products delivered to

construction sites.   Defendants classify Plaintiff and the FLSA Collective as

“independent contractors” and/or “owner-operators.”

      4.     Defendants unlawfully classified Plaintiff and the FLSA Collective as

independent contractors to avoid their obligations to pay overtime as required by the

Fair Labor Standards Act (“FLSA”), and to reap the benefits of such illegal

classification such as reduced tax liability, avoiding workers’ compensation, and

passing operating costs on to their workforce.

      5.     Employers like Defendants may not lawfully avoid these legal

obligations by misclassifying workers as “independent contractors,” who, by their

terms and conditions of engagement, are employees.            Plaintiff and the FLSA

Collective are economically dependent for their financial livelihood on Defendants;


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and Defendants are entirely dependent on them to deliver the products they sell to

their customers.

      6.     Plaintiff was hired by Defendants. Plaintiff and the FLSA Collective

worked exclusively for Defendants on a full-time and continuing basis. Plaintiff and

the FLSA Collective did not sell or advertise their services to the general public, or

generally work for any other company other than Defendants.

      7.     Defendants reserve and exercise pervasive control over their delivery

business operations and have retained the right to control the manner and means of

the work of Plaintiff and the FLSA Collective, such that they are in fact employees

of both Vulcan and Southeast under the FLSA, as described more fully infra.

      8.     Plaintiff brings claims under the FLSA, 29 U.S.C. §§ 207, 216(b), for

unpaid overtime compensation, liquidated damages, interest, and attorneys’ fees and

costs on behalf of himself and the FLSA Collective as defined below. Due to the

three-year statute of limitations governing FLSA claims, Plaintiff seeks damages

that have accrued or will accrue at any time from three years prior to the filing of

this Complaint through the date of final judgment.




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                              II.     JURISDICTION

      9.     This Court has original jurisdiction to hear this Complaint and to

adjudicate Plaintiff’s claims stated herein pursuant to 28 U.S.C. § 1331, because this

action asserts claims arising under federal law, the FLSA, 29 U.S.C. § 201, et seq.

                  III.   VENUE AND DIVISION ASSIGNMENT

      10.    Venue is proper in this District pursuant to 28 U.S.C. § 1391 and Local

Rule 3.1(B)(3) because a substantial part of the events or omissions giving rise to

Plaintiff’s claims occurred within this District, and a substantial number of the

members of the FLSA Collective alleged herein provided delivery services for

Defendants within this District and within the Division and Courthouse in which this

action has been commenced. Assignment to the Atlanta Division is proper pursuant

to 28 U.S.C. § 90. Refer to LR App. A, I and Local Rule 3.1(A).

                                    IV.   PARTIES

A.    Plaintiff

      11.    Plaintiff Derrick Bailey is a resident of Douglasville, Georgia. Plaintiff

has been an employee of Defendants within the meaning of the FLSA at all relevant

times as a driver based in Atlanta, Georgia. He files this action on behalf of himself

and as a representative for all similarly situated drivers in the FLSA Collective

defined below. Plaintiff has consented in writing to be a party to the FLSA claims


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asserted in this action pursuant to 29 U.S.C. § 216(b). Plaintiff’s signed consent

form is attached as Exhibit A. As this case proceeds, it is likely that other similarly

situated individuals will file consent forms and join as “opt-in” plaintiffs.

B.    Defendants

      12.    Defendant Vulcan Materials Company (“Vulcan”) is a New Jersey

corporation that provides products and services in Georgia and throughout the

United States. Vulcan is and at all relevant times has been an employer covered by

the FLSA.

      13.    Defendant Southeast Division Logistics, LLC (“Southeast”) is a

Delaware limited liability company and a Division of Vulcan that operates primarily

in Georgia, Texas, Tennessee, Florida, Alabama, Mississippi, North Carolina, South

Carolina, and Louisiana. Southeast is and at all relevant times has been an employer

covered by the FLSA.

      14.    At times relevant to this action, Defendants qualify as Plaintiff’s and

the Collective’s “joint employers” within the meaning of the FLSA, 29 U.S.C. §

203(d), (g). Defendants suffer or permit Plaintiff and the FLSA Collective to work.




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                        V.     STATEMENT OF FACTS

      15.    Defendants hired Plaintiff and the FLSA Collective to load and deliver

Defendants’ aggregate and other products to customers throughout Georgia and the

United States.

      16.    Plaintiff and the FLSA Collective are required to sign “Independent

Contractor Service Agreements” (“Agreement”) to work for Defendants.

      17.    While the Agreements are executed between Southeast and Plaintiff

and individuals in the FLSA Collective, Plaintiff and the FLSA Collective work for

Defendant Vulcan and Defendant Southeast as “joint employers.”

      18.    Defendant Vulcan’s direction and control regarding the manner in

which Plaintiff and the FLSA Collective perform work includes, but is not limited

to the following:

             a.     Plaintiff and the FLSA Collective work in quarries owned and

operated by Defendant Vulcan;

             b.     Plaintiff and the FLSA Collective deliver product owned and

sold by Defendant Vulcan;

             c.     Plaintiff and the FLSA Collective deliver product to customers

of Defendant Vulcan;




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             d.    Plaintiff and the FLSA Collective are dispatched on assignments

by dispatchers who are employed by Defendant Vulcan;

             e.    Plaintiff and the FLSA Collective communicate regularly with

employees of Defendant Vulcan, including but not limited to updating Vulcan on

the status of deliveries, receiving instructions on new assignments, and other work-

related duties, and submitting their vehicles to Vulcan employees for inspection;

             f.    Plaintiff and the FLSA Collective are supervised by management

employees who are employed by Defendant Vulcan;

             g.    Plaintiff and the FLSA Collective are required to submit their

vehicles to Vulcan employees for inspections; and

             h.    Plaintiff and the FLSA Collective hold themselves out to

customers and the general public as representatives of Defendant Vulcan.

      19.    On information and belief, Defendants Vulcan and Southeast operate

as an integrated entity, including in the following ways:

             a.    Defendant Vulcan established Defendant Southeast as a

subsidiary corporation and division in approximately 2016;

             b.    Vulcan and Southeast share office space, including but not

limited to offices located at 800 Mount Vernon Highway, Atlanta, Georgia; and




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             c.    Vulcan and Southeast share employees, including dispatch

personnel.

      20.    On information and belief, as a condition of employment, Defendants

Vulcan and Southeast do not permit Plaintiff and the FLSA Collective to perform

work for competitors of Defendants concurrently while working for Defendants.

      21.    Plaintiff and the FLSA Collective provide delivery services that are

integral and essential to Defendants’ core business.

      22.    Plaintiff and the FLSA Collective are economically dependent for their

financial livelihood on Defendants, and Defendants are entirely dependent on

Plaintiff and the FLSA Collective for the delivery services provided to its customers.

      23.    The Agreement between Defendants and Plaintiff and each individual

in the FLSA Collective, which state that they independent contractors, are contracts

of adhesion that are drafted exclusively by Defendants.

      24.    The terms of the Agreement between Defendants and Plaintiff and each

individual in the FLSA Collective are non-negotiable. Through this Agreement,

Defendants reserve and actually exercise the right to control the manner and means

by which Plaintiff and the FLSA Collective perform their duties for Defendants.




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      25.    Defendants determine the locations where Plaintiff and the FLSA

Collective load and deliver the products assigned to them; the time of day when they

must report to work; and the order and timing of their deliveries.

      26.    Defendants track the locations and progress of Plaintiff and the FLSA

Collective using GPS. Defendants record and store this information electronically

through various applications that they require Plaintiffs and the FLSA to use via their

cellular phones and/or in devices installed in their trucks.

      27.    Defendants have required Plaintiff and the FLSA Collective to install

company-issued cameras on their trucks to enable the company to observe and

monitor the work of Plaintiff and the FLSA Collective. Defendants record and store

information from these cameras electronically.

      28.    Plaintiff and the FLSA Collective are required to call Defendants’

customers ahead of arrival to give notice of when they will make the delivery.

Plaintiff and the FLSA Collective must complete all of the work assigned to them

and are not allowed to refuse assignments without repercussion.

      29.    Defendants reserve the right to require Plaintiff and the FLSA

Collective to know and follow Defendants’ customer service standards in

performing their work.




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      30.    Defendants require that Plaintiff and the FLSA Collective operate and

register their vehicles under Defendants’ United States Department of

Transportation number/operating authority.

      31.    Defendants require that Plaintiff and the FLSA Collective submit their

vehicles for regular inspections, including “flash inspections” that are administered

by Defendants’ employees without prior notice and that take Plaintiff and the FLSA

Collective out of service, without pay.

      32.    Defendants reserve the right to require Plaintiff and the FLSA

Collective to follow certain work methods related to, for example, how to interact

with customers.

      33.    Defendants reserve the right to prescribe how Plaintiff and the FLSA

Collective document their work and require them to contact Defendants upon arrival

at each stop and then again after the delivery is completed.

      34.    Defendants employ a variety of managerial and supervisory employees

who instruct Plaintiff and the FLSA Collective on their job performance and their

delivery assignments. Plaintiff and the FLSA Collective interact with Defendants’

personnel on a daily basis. Defendants’ managerial and supervisory employees also

hold regular in-person and/or telephonic meetings where Plaintiff and the FLSA

Collective’s attendance is mandatory.


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      35.     Plaintiff and the FLSA Collective are paid each week a flat amount for

each delivery, in amounts that are unilaterally determined by Defendants.

Defendants make deductions from the pay of Plaintiff and the FLSA Collective,

including deductions for various forms of required insurance.

      36.     Defendants require Plaintiff and the FLSA Collective to purchase

multiple forms of insurance coverage in amounts determined by Defendants through

insurance plans specified and sometimes negotiated by Defendants, and to name

Defendants as additional “insureds.”

      37.     Plaintiff and the FLSA Collective are terminable at will. They may be

terminated upon fifteen (15) days written notice without cause or immediately for

alleged breaches of the broadly-worded standards and obligations described in the

Agreements.

      38.     Despite Defendants’ pervasive control over all aspects of its delivery

service operation, including the details of the work of Plaintiff and the FLSA

Collective, Defendant has classified Plaintiff and the FLSA Collective as

“independent contractors.”

      39.     Defendants’ classification of Plaintiff and the FLSA Collective as

“independent contractors” rather than as “employees” is and during all relevant

times has been unlawful.


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      40.    As a result of Defendants’ misclassification of Plaintiff and the FLSA

Collective as “independent contractors,” Defendants have required and/or

knowingly permitted them to work hours considerably in excess of forty (40) in a

workweek.

      41.    Plaintiff is informed and believes, and on that basis alleges, that it has

been Defendants’ policy and practice to require and/or knowingly and willfully

permit him and the FLSA Collective to work such overtime hours without paying

them overtime compensation required by the FLSA.

      42.    Plaintiff and the FLSA Collective regularly worked over 40 hours

during most work weeks. Due to his demanding workload, Plaintiff typically works

approximately eleven (11) to twelve (12) hours per day, Monday through Friday. As

a result, Plaintiff typically works approximately fifty-five (55) to sixty (60) hours

per week.

               VI.    COLLECTIVE ACTION ALLEGATIONS

      43.    Plaintiff brings the claims herein, individually and on behalf of the

FLSA Collective for violations of the FLSA as a collective action pursuant to

Section 16(b) of the FLSA, 29 U.S.C. § 216(b). The FLSA Collective is defined as

all persons in the United States who have worked as drivers, or in other similar




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positions, for Vulcan and/or Southeast at any time since three years prior to filing of

this Complaint to the present.

      44.    Plaintiff and the FLSA Collective are similarly situated, perform

substantially similar duties for Defendants, and are subject to Defendants’ common

practice of unlawfully classifying said persons as “independent contractors” despite

intensively controlling the manner and means of their performance of such duties,

as alleged herein.

      45.    The claim for violations of the FLSA may be brought and maintained

as an “opt-in” collective action pursuant to Section 16(b) of the FLSA, 29 U.S.C. §

216(b), because Plaintiff’s claims are similar to the claims of the FLSA Collective.

      46.    Defendants are liable under the FLSA for failing to properly

compensate Plaintiff and the FLSA Collective, and as such, notice should be sent to

the FLSA Collective. There are numerous similarly situated current and former

drivers who have been denied overtime pay by Defendants in violation of the FLSA

who would benefit from the issuance of Court-supervised notice of this lawsuit and

the opportunity to join. Those similarly situated workers are known to Defendants

and should be readily identifiable through Defendants’ records.

                           VII. CAUSES OF ACTION

                       FIRST CAUSE OF ACTION
            FAILURE TO PAY FLSA OVERTIME COMPENSATION

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                             (29 U.S.C. § 201, et seq.)
                        (On Behalf of Plaintiff and FLSA Collective)

       47.    Plaintiff re-alleges and incorporates by reference the above paragraphs

as if fully set forth herein.

       48.    At all relevant times, Defendants have been, and continue to be,

“employers” engaged in interstate commerce and/or in the production of goods for

commerce, within the meaning of the FLSA, 29 U.S.C. § 203. At all relevant times,

Defendants have employed, and/or continue to employ, “employee[s]” including

Plaintiff and FLSA Collective. At all relevant times, upon information and belief,

Defendants have each had gross operating revenues in excess of $500,000.

       49.    The FLSA requires covered employers to pay employees at one-and-

one-half times their regular rate of pay for work performed in excess of forty (40)

hours in a work week. 29 U.S.C. § 207. Plaintiff and the FLSA Collective regularly

worked over 40 hours during most work weeks.

       50.    Defendants failed to pay Plaintiff and the FLSA Collective overtime

wages for all hours worked over forty (40) in a work week.

       51.    In failing to provide overtime compensation, the Defendants violated

the FLSA.

       52.    Defendants did not and have not made a good-faith effort to comply

with the FLSA as it relates to the compensation of Plaintiff and the FLSA Collective.

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      53.    Defendants knew Plaintiff and the FLSA Collective worked as

employees, and they willfully failed and refused to pay Plaintiff and FLSA

Collective the required overtime wages.

      54.    Defendants’ willful failure and refusal to pay Plaintiff and FLSA

Collective overtime wages for work over forty (40) hours violates the FLSA, 29

U.S.C. § 207. Further, Defendants’ conduct, as alleged, constitutes a willful violation

of the FLSA, within the meaning of 20 U.S.C. § 255(a).

      55.    As a result of these unlawful practices, Plaintiff and FLSA Collective

suffered and continue to suffer wage loss and are therefore entitled to recover unpaid

overtime wages for up to three years prior to the filing of their claims, liquidated

damages, interest, attorneys’ fees and costs, and such other legal and equitable relief

as the Court deems just and proper.

                            VIII. PRAYER FOR RELIEF

      56.    WHEREFORE, Plaintiff, on behalf of himself, and all others similarly

situated, demand judgment against Defendants as follows:

             a.     A finding that Plaintiff and the FLSA Collective are

      similarly situated;

             b.     Certification of this case as a collective action pursuant to

      29 U.S.C. § 216(b);


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      c.    Authorization for the prompt issuance of notice to all those

similarly situated employees, apprising them of the pendency of this

action and providing them with the opportunity to assert timely FLSA

claims by filing consent forms;

      d.    Judgment that Plaintiff and the FLSA Collective are non-

exempt employees entitled to protection under the FLSA;

      e.    Judgment against Defendants for violation of the overtime

wage provisions of the FLSA;

      f.    Judgment that Defendants acted willfully and without

good faith in violating the FLSA;

      g.    An award to Plaintiff and the FLSA Collective for the

amount of unpaid overtime wages owed, and full liquidated damages;

      h.    An award of pre-judgment and post-judgment interest, as

provided by law;

      i.    An award of reasonable attorneys’ fees and costs;

      j.    Leave to add additional plaintiffs by the filing of written

consent forms, or any other method approved by the Court; and

      k.    For such other relief as the Court may deem just and

proper.


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DATED: March 10, 2021            Respectfully submitted,

                                    /s/ John T. Sparks
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                                 situated



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